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                          UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


In re:                                            Case No. 17-30912



Kelly Denise Hensley                              Chapter 7


                                                  Judge LAWRENCE S. WALTER
         Debtor


         OBJECTION OF CHAPTER 7 TRUSTEE TO MOTION OF FIRST GUARANTY
         MORTGAGE CORPORATION FOR RELIEF FROM STAY (PROPERTY
              ADDRESS: 8009 VOLK DRIVE, DAYTON, OHIO 45415)

         Now comes Trustee Paul H. Spaeth (“the Trustee”) and hereby objects to the Motion of
First Guaranty Mortgage Corporation for Relief from Stay (Doc. 15)(“the Motion”) filed by
Movant First Guaranty Mortgage Corporation(“Movant”) with respect to real estate 8009 Volk
Drive, Dayton, Ohio. In support of this Objection, the Trustee states the following:
         1. This case was filed under Chapter 7 on March 23, 2017. Paul H. Spaeth is the duly
appointed and acting Trustee herein. The meeting of creditors was held on May 17, 2017.
         2. Movant filed the Motion seeking relief from the automatic stay with respect to real
estate at 8009 Volk Drive, Dayton, Ohio 45415 (“the Real Estate”).
         3.   On May 24, 2017, the Trustee filed a Chapter 7 Trustee’s Application to Retain BK
Global Real Estate Services and Tracey Bitonti, Irongate Inc. Realtors to Procure Consented
Public Sale Pursuant to 11 U.S.C. §§327, 328 and 330 (“the Trustee’s Application”). As set
forth in the Trustee’s Application, the Trustee is seeking authority to retain BK Global Real
Estate Services and Tracey Bitonti, Irongate Inc. Realtors for the purpose of attempting to
negotiate with Movant, the holder of a mortgage with respect to the Real Estate, for a sale, with
the consent of such mortgagee, under which the Trustee would sell the Real Estate, subject to an
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agreed upon carve out for the benefit of unsecured creditors. Such a sale is likely to save the
mortgagee time and expense and would benefit the estate by providing a dividend to unsecured
creditors.
        4.   According to Schedule A, Debtor lists a value for the Real Estate of $97,690.00.
According to the Motion, the amount due and owing on the mortgage held by Movant is
$91,253.00 plus interest at a rate of 3.250% from December 1, 2016.
       5.    The estate will benefit from an attempted consented sale by the Trustee and he seeks
approval of a period of six (6) months to market and sell the property.
       Accordingly, the Trustee respectfully requests that the Court deny the Motion for the
reasons set forth above.
                                               Respectfully submitted,
                                               /s/Paul H. Spaeth
                                               Paul H. Spaeth (0010524)
                                               7925 Paragon Rd., Ste. 101
                                               Dayton, Ohio 45458
                                               (937) 223-1655
                                               Fax: (937) 223-1656
                                               spaethlaw@phslaw.com
                                               Trustee

                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Objection of Chapter 7 Trustee to Motion of
First Guaranty Mortgage Corporation for Relief from Stay was served electronically through the
Court’s ECF system on all ECF participants registered in this case at the email addresses
registered with the Court and by ordinary U.S. mail on May 24, 2017 addressed to the
following:

First Guaranty Mortgage Corporation
c/o Edward A. Bailey, Esq.
c/o Cynthia A. Jeffrey, Esq.
Reimer Law Co.
30455 Solon Rd.
Solon, Ohio 44139

Roundpoint Mortgage
5032 Parkway Plaza Blvd.
Charlotte, NC 28217
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Valerie Smith
c/o PRA Receivables Management LLC
PO Box 23541
Norfork, VA 23541

                                      /s/Paul H. Spaeth
                                      Paul H. Spaeth
